                                          Case 5:16-cv-03260-BLF Document 264 Filed 06/11/18 Page 1 of 2




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                                   8                               UNITED STATES DISTRICT COURT
                                   9                           NORTHERN DISTRICT OF CALIFORNIA
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                                  11    SPACE DATA CORP.,
                                                                                       Case No. 16-cv-03260 BLF (NC)
Northern District of California




                                  12                  Plaintiff,
 United States District Court




                                                                                       ORDER RE: DISCOVERY DISPUTE
                                  13           v.                                      ON LITIGATION FUNDING
                                  14    GOOGLE LLC, and others,                        RE: ECF 259
                                  15                  Defendants.
                                  16
                                  17          Defendants Google and Alphabet move to compel discovery as to litigation funding
                                  18   considered by plaintiff Space Data. In particular, defendants move to compel production
                                  19   of Board minutes that discuss the potential funding, and move to complete the deposition
                                  20   of Space Data Board member David Wu, who declined to answer questions about the
                                  21   potential funding.
                                  22          Defendants assert that the discovery is relevant, but do not articulate how. Space
                                  23   Data contests the relevance of the information requested and proffers an important piece of
                                  24   information: it does not have any third-party litigation financing. ECF 259 at p. 3.
                                  25          The Court is not persuaded that the materials sought are relevant to any party’s
                                  26   claim or defense and “proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).
                                  27   Even if litigation funding were relevant (which is contestable), potential litigation funding
                                  28   is a side issue at best. The Court finds that there is much discovery that would be more
                                       Case No. 16-cv-03260 BLF (NC)
                                         Case 5:16-cv-03260-BLF Document 264 Filed 06/11/18 Page 2 of 2




                                   1   important in resolving the merits of this case. And the burden of responding would
                                   2   outweigh its likely benefit to defendants. Consequently, defendants’ request to compel
                                   3   further discovery is DENIED. The Court does not reach the privilege issues discussed.
                                   4   No costs or fees are awarded.
                                   5         IT IS SO ORDERED.
                                   6
                                   7   Dated: June 11, 2018                     _____________________________________
                                                                                      NATHANAEL M. COUSINS
                                   8                                                  United States Magistrate Judge
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Northern District of California




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 United States District Court




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